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                              UNITED STATES DISTRICT COURT
                              SOUTHERN DISTRICT OF FLORIDA
                                 FT. LAUDERDALE DIVISION

   DOUGLAS FELLER; JEFFRY HEISE; and
   JOSEPH MULL, individually and on behalf of all
   others similarly situated,
                                                            Case No. 0:24-cv-61444
                          Plaintiffs,
           v.
                                                            Hon. Rodolfo A. Ruiz II
   ALLIANCE ENTERTAINMENT, LLC; AND
   DIRECTTOU, LLC D/B/A COLLECTORS’
   CHOICE MUSIC, CRITICS’ CHOICE VIDEO,
   MOVIES UNLIMITED, DEEPDISCOUNT, AND
   WOW HD,

                          Defendants.


     DECLARATION OF FRANK S. HEDIN IN SUPPORT OF PLAINTIFFS’ MOTION
              FOR APPOINTMENT OF INTERIM CLASS COUNSEL

         I, Frank S. Hedin, declare under penalty of perjury, pursuant to 28 U.S.C. §1746 and based

  on my own personal knowledge, that the following statements are true:

         1.      I am the founding partner at the law firm Hedin LLP and a member in good

  standing of the Florida Bar and the State Bar of California, and I submit this declaration in support

  of Plaintiffs’ motion for appointment of interim class counsel.

         3.      From 2012 to 2013, I served as law clerk to the Honorable William Q. Hayes, U.S.

  District Judge for the Southern District of California. I then worked for four years at a law firm

  in Miami, Florida, where I represented plaintiffs and defendants in general commercial litigation

  and intellectual property matters.

         4.      I co-founded Hedin LLP, previously known as Hedin Hall LLP, in 2018. Based

  in Miami, Florida, with offices in San Francisco, California, and Washington D.C., Hedin LLP

  focuses on consumer and data privacy class actions and has successfully prosecuted dozens of
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  such matters in state and federal courts as court-appointed class counsel. See e.g., Rivera et al. v.

  Google, LLC, No. 2019-CH-00990 (Cir. Ct. Cook Cnty. Ill., Apr. 5, 2022) (class counsel in action

  alleging violations of Illinois’s Biometric Information Privacy Act (“BIPA”), obtained $100

  million non-reversionary class settlement); Schreiber et al. v. Mayo Foundation for Medical

  Education & Research, No. 22-cv-00188 (W.D. Mich.) (counsel for class of consumers alleging

  defendant’s sale, rental, and disclosure of mailing containing its subscribers’ personal

  information in violation of Michigan’s Preservation of Personal Privacy Action (“PPPA”),

  obtained $52.5 million non-reversionary class settlement with automatic payments (without the

  need to submit claim forms) to each of the approximately 67,000 class members); Edwards v.

  Hearst Communications, Inc., 1:15-cv-09279-AT-JLC (S.D.N.Y.) (same, $50 million non-

  reversionary class settlement); Kokoszki v. Playboy Enters., Inc., No. 19-cv-10302 (E.D. Mich.)

  (same, $3.8 million non-reversionary class settlement with automatic payments to all class

  members); Pratt et al. v. KSE Sportsman Media, Inc., No. 21-cv-11404 (E.D. Mich.) (same, $9.5

  non-reversionary class settlement with automatic payments to all class members); Kain v. The

  Economist Newspaper NA, Inc., No. 21-cv-11807 (E.D. Mich.) (same, $9.5 million non-

  reversionary class settlement with automatic payments to all class members); Strano v. Kiplinger

  Washington Editors, Inc., No. 21-cv-12987 (E.D. Mich.) (same, $6.8 million non-reversionary

  class settlement with automatic payments to all class members); Moeller v. The Week

  Publications, Inc., No. 22-cv-10666 (E.D. Mich.) (same, $5 million non-reversionary class

  settlement with automatic payments to all class members); Olsen, et al. v. ContextLogic Inc., No.

  19CH06737 (Cir. Ct. Cook Cnty. Ill., Jan 7, 2020) (class counsel in action alleging violations of

  the of the federal Telephone Consumer Protection Act (“TCPA”), obtained $16 million non-

  reversionary class settlement); Chimeno-Buzzi v. Hollister Co., No. 14-cv-23120 (S.D. Fla.)




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  (same, $10 million non-reversionary class settlement); Farnham v. Caribou Coffee Co., Inc., No.

  16-cv-295 (W.D. Wisc.) (same, $8.5 million non-reversionary class settlement); Benbow v.

  SmileDirectClub, Inc., No. 2020-CH-07269 (Cir. Ct. Cook Cnty.) (same, $11.5 million class

  settlement); Donahue v. Everi Payments, Inc., et al., No. 2018-CH-15419 (Cook Cnty., Ill. Cir.

  Ct.) (class counsel in action alleging disclosure of consumers’ credit and debit card information

  on printed transaction receipts in violation of the federal Fair and Accurate Credit Transactions

  Act, obtained $14 million non-reversionary class settlement); Owens, et al. v. Bank of America,

  N.A., et al., No. 19-cv-20614 (S.D. Fla.) (class counsel in action alleging improper overdraft fees

  in violation of state law, obtained $4.95 million non-reversionary class settlement with automatic

  payments to all class members); Liggio v. Apple Federal Credit Union, No. 18-cv-1059 (E.D.

  Va.) (same, $2.7 million non-reversionary class settlement); In re Maxar Technologies Inc.

  Shareholder Litigation, No. 19CV357070 (Cal. Sup. Ct., Santa Clara Cnty.) (class counsel in

  action alleging false and misleading statements to investors in violation of federal securities laws,

  obtained $36.5 million non-reversionary settlement for class); Plymouth County Retirement

  System v. Impinj, Inc., et al., No. 650629/2019 (N.Y. Sup. Ct., N.Y. Cnty.) (same, obtained $20

  million non-reversionary class settlement). Over the past five years alone, the firm has recovered

  over $400 million in all-cash relief for the classes it has represented. See Exhibit 1 hereto.

         5.      Hedin LLP also regularly serves as class counsel or lead plaintiffs’ counsel in

  matters that turn on novel questions of first impression pertaining to the rights of consumers under

  state statutes, as well as the constitutional issues (standing and otherwise) that often arise during

  the prosecution of such matters in federal court. For example, in data-privacy class actions against

  publishers for violation of Michigan’s Preservation of Personal Privacy Act (“PPPA”), Mich.

  Comp. Laws § 445.771 et. Seq., based on their alleged disclosure of subscribers’ information to




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  third parties, Hedin LLP obtained groundbreaking decisions on two important issues that

  dramatically expanded the scope of the statute and led to the recovery of meaningful relief for

  consumers throughout Michigan. See id. (citing Horton v. GameStop Corp., 380 F. Supp. 3d 679

  (W.D. Mich. 2018) (holding, despite prior district court decision to the contrary on the same issue,

  that the version of the PPPA in effect prior to its July 2016 amendment applied to claims filed

  after the amendment’s effective date); Lin v. Crain Commc’ns Inc., No. 19-11889, 2020 WL

  248445, at *4 (E.D. Mich. Jan. 16, 2020) (holding that Michigan-based publishers may be held

  liable for disclosing the data of all of their subscribers, even those outside Michigan)).

         6.      Additionally, our attorneys have obtained multiple noteworthy victories for

  consumers on issues of first impression in litigation against Google and Shutterfly under an

  Illinois statute, the Biometric Information Privacy Act (“BIPA”), which opened doors for

  consumers throughout the state to recover relief under that statute. See e.g., Norberg v. Shutterfly,

  Inc., 152 F. Supp. 3d 1103 (N.D. Ill. 2015) (holding that scans of face geometry collected from

  photographs constitute “biometric identifiers” within the meaning of BIPA); Rivera v. Google

  Inc., 238 F. Supp. 3d 1088 (N.D. Ill. 2017) (holding that neither the presumption against

  extraterritoriality nor the dormant commerce clause bars BIPA’s application to the collection of

  Illinoisans’ biometrics from devices within Illinois); Monroy v. Shutterfly, Inc., 2017 WL

  4099846, at *8 n.5 (N.D. Ill. Sept. 15, 2017) (holding that the nonconsensual collection of a scan

  of face geometry, a bare violation of BIPA, is a concrete and particularized injury sufficient to

  confer Article III standing)).

         7.      My firm has also served as class counsel or plaintiffs’ counsel in securities class

  actions in state and federal courts throughout the country. E.g., In re Menlo Therapeutics Inc.

  Sec. Litig., No. 18CIV06049 (Cal. Super. Ct., San Mateo Cty.) (class settlement on behalf of IPO




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  investors finally approved); In re EverQuote, Inc. Secs. Litig., No. 651177/2019 (N.Y. Supreme,

  N.Y. Cty.) (class settlement on behalf of IPO investors finally approved); Plymouth Cty. Ret. Sys.

  v. Impinj, Inc., et al., No. 650629/2019 (N.Y. Super. Ct., N.Y. Cty.) (co-lead counsel for plaintiff

  class of investors asserting Securities Act claims arising from initial and secondary public

  offerings).

         8.      We also frequently represent indigent litigants on a pro bono basis. E.g., Groover

  v. U.S. Corrections, LLC, et al., No. 15-cv-61902-BB (S.D. Fla.) (representing plaintiff and

  putative class against country’s largest private prisoner extradition companies in Section 1983

  civil rights action alleging violations of the Eighth Amendment).

         9.      Notably, my firm has substantial experience litigating data-privacy class actions

  arising from the same sort of conduct at issue here: the rental, sale, and exchange of consumers’

  private information in the data-brokerage marketplace, as evidenced by “data cards” (posted

  publicly on Nextmark and other such websites) in which companies advertise the availability of

  such data about their customers. See e.g., Horton, 380 F. Supp. 3d 679; Lin, No. 19-11889;

  Schreiber, No. 22-cv-00188; Pratt et al. v. KSE Sportsman Media, Inc., No. 21-cv-11404 (E.D.

  Mich.) (class counsel in action alleging unauthorized disclosure of consumers’ purchase

  information in violation of PPPA, where firm negotiated $9.5 million all-cash non-reversionary

  settlement for class); Kain v. The Economist Newspaper NA, Inc., No. 21-cv-11807 (E.D. Mich.)

  (class counsel in action alleging unauthorized disclosure of consumers’ purchase information in

  violation of PPPA, where firm negotiated $9.5 million all-cash non-reversionary settlement for

  class); Strano v. Kiplinger Washington Editors, Inc., No. 21-cv-12987 (E.D. Mich.) (class

  counsel in action alleging unauthorized disclosure of consumers’ purchase information in




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  violation of PPPA, where firm negotiated $6.8 million all-cash non-reversionary settlement for

  class).

            10.   My firm has devoted significant time developing, investigating, and commencing

  the instant action against Defendant for violation of the Video Privacy Protection Act (“VPPA”),

  18 U.S.C. § 2710. Beginning in 2019, my firm began investigating Defendants’ practices of

  renting, selling, and otherwise disclosing its customer lists, which included names, addresses,

  titles of videos purchased by, and various demographic and other personal information about each

  of the persons who made purchases on their websites, and by studying Defendants’ practices of

  transmitting personally identifying information and video-purchase information to Facebook,

  now known as Meta, via the “Meta Pixel” technology they had installed on their websites.

            11.   Specifically, prior to filing this action, my firm: (i) thoroughly investigated and

  reviewed current and historical versions of Defendants’ data cards publicly accessible on

  Nextmark.com and other data-brokerage websites, over a period of several years dating back to

  2019; (ii) researched numerous online trackers created by different technology companies,

  including learning how they operate, how to find them in website source code, and how to identify

  what information is being tracked and transmitted; (iii) consulted with experts to investigate

  Defendants’ numerous websites and their use of tracking technologies, including the Meta Pixel

  technology, on those website, including parsing through Defendants’ websites’ source code; (iv)

  researched whether Defendants’ use of such tracking pixels violated the VPPA; and (v)

  communicated with and reviewed materials provided by numerous potential clients who

  interacted with and made purchases on Defendants’ websites, in order to determine whether they

  were capable of adequately representing the interests of the proposed classes.




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         12.     After performing this time-consuming pre-filing work, my firm was retained in

  July 2024 by Douglas Feller, Jeffry Heise, and Joseph Mull to prosecute claims against

  Defendants for violation of the VPPA on behalf of themselves and others similarly situated, and

  shortly thereafter prepared and filed the Class Action Complaint on behalf of the proposed

  classes.

         13.     Since the very outset, my firm has vigorously litigated this action on behalf of

  Plaintiffs and the putative classes, including by serving comprehensive written discovery requests

  to Defendants, serving notices of deposition to Defendants’ corporate representatives, serving

  third-party subpoenas for documents and deposition testimony to relevant third parties,

  consulting with potential experts, and preparing motions and other filings. The parties’ Rule 26

  conference occurred on August 30, 2024, the Rule 26 conference report was field on September

  9, 2024, and the Court entered its first Order Setting Jury Trial on September 10, 2024. On

  September 12, 2024, Plaintiffs’ counsel served Plaintiffs’ first sets of requests for production of

  documents and interrogatories on Defendant, seeking razor-focused categories of information,

  documents, communications, and electronically-stored information concerning each of the

  factual and legal issues relevant to their claim for violation of the VPPA, Defendants’ likely

  defenses thereto, and the certification of the proposed classes pursuant to Rule 23. On September

  13, 2024, Plaintiffs’ counsel served notices of deposition of Defendants’ corporate

  representatives for November 15, 2024.

         14.     On September 6, 2024, Plaintiffs and Defendants agreed to attend a mediation to

  explore early class-wide resolution of this action before the Honorable James F. Holderman (Ret.)

  (JAMS, Chicago), formerly a district judge in the Northern District of Illinois, on the condition

  (negotiated by Hedin LLP) that Defendants would agree to provide various information and




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  materials to them in advance of the mediation that were necessary for us to intelligently negotiate

  on behalf of members of the putative classes. This information and material included the precise

  sizes of the two classes, the form and contents of the personally identifying and video purchase-

  related information pertaining to Plaintiffs and class members that Defendants transmitted to the

  various third-party recipients of the information during the applicable statutory period, and all

  applicable or potentially applicable policies of insurance.

         15.     Ahead of the parties’ mediation scheduled for October 10 before Judge

  Holderman, my firm prepared and exchanged with Defendants’ counsel and Judge Holderman a

  comprehensive mediation statement outlining Plaintiffs’ positions on various legal and factual

  issues relevant to the merits of the claims and defenses and issues of class certification. My firm

  and Defendants’ counsel also participated in a lengthy pre-mediation conference with Judge

  Holderman. During that conference, Defendants’ counsel informed Plaintiffs’ counsel that no

  settlement discussions had occurred between Defendants and the plaintiff in the second-filed

  Hoang To action pending in the Northern District of California.

         16.     On October 10, 2024, following our receipt of information and materials from

  Defendants bearing, inter alia, on issues of class size and insurance, the parties participated in a

  full day of mediation before Judge Holderman. Although we mediated for nearly a full day, we

  were unable to reach a proposed class-wide settlement at the mediation and Judge Holderman

  declared an impasse.

         17.     For over more than a week following the mediation, the parties, with the continued

  assistance of Judge Holderman, continued to engage in what my colleagues and I (and Judge

  Holderman) believed at the time to be good-faith settlement negotiations. Specifically, on

  October 16, 2024, six days after the parties’ mediation, I exchanged e-mail correspondence and




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  then spoke by telephone with Judge Holderman, during which I asked Judge Holderman to

  convey a settlement demand to Defendants’ counsel, which I believed would meaningfully

  advance the parties’ progress towards a proposed resolution on behalf of the classes. Later that

  same day, after presenting Plaintiffs’ demand to Defendants’ counsel by phone, Judge Holderman

  telephoned me to convey a counter settlement offer that Defendants had authorized him to

  convey. Over the next two days, I spoke by phone and exchanged e-mail correspondence with

  Judge Holderman on multiple occasions concerning Defendants’ latest settlement offer, and on

  October 18, 2024, I conveyed another counter settlement demand to Judge Holderman and asked

  that he present it to the Defendants’ counsel. Later that same day, Judge Holderman sent me an

  e-mail confirming that he had presented Plaintiffs’ latest demand to Defendants’ counsel by

  phone. I followed up with Judge Holderman on October 22, 2024, and yet again on October 23,

  2024, to see whether he had received any response from Defendants’ counsel, and on both

  occasions Judge Holderman advised me that he had telephoned Defendants’ counsel but had

  received no answer, that he had left voicemails for them but had still not heard back from them,

  and that he would try to contact Defendants’ counsel yet again on October 24, 2024.

         18.    At the same time as these settlement discussions overseen by Judge Holderman

  were occurring, my colleagues and I also continued to push this case forward on multiple fronts.

  Immediately following the conclusion of the mediation on October 10, 2024, Arun G. Ravindran

  of my firm confirmed with Defendant that the agreed-upon discovery stay (which had been in

  effect since the date the parties agreed to mediate) had ended. On October 14, 2024, Mr.

  Ravindran counsel served a third-party subpoena for documents and deposition testimony to Meta

  on Defendants’ counsel by e-mail, and then promptly arranged for the subpoena to be formally

  served on Meta. On October 16, 2024, Meta served its initial responses and objections to the




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   subpoena and, later that same day, I initiated a meet and confer process with Meta’s counsel to

   discuss Meta’s responses and objections to the subpoena. On October 19, 2024, I conferred

   further with Meta’s counsel concerning the timing of its deposition in this matter. On October 17,

   2024, I served a third-party subpoena for documents to Data-Axle Inc. (a data company that, as

   our investigation had revealed, served as one of Defendant’s list managers and/or brokers during

   the relevant statutory period) on Defendants’ counsel by e-mail, and then promptly arranged for

   formal service of the subpoena on Data-Axle, setting a deadline for Data-Axle to respond of

   November 18, 2024. On October 25, 2024, Mr. Ravindran exchanged correspondence with

   counsel for Data Axle regarding Data Axle’s response to the subpoena and production of

   documents.

          19.     Additionally, over the course of a 10-day period beginning on October 14, 2024,

   continuing through October 24, 2024, my colleagues and I repeatedly attempted to schedule a

   meet and confer conference with Defendants’ counsel concerning, inter alia: (1) Defendants’

   position on a motion for appointment of interim counsel that Plaintiffs’ counsel had advised

   Defendants’ counsel it intended to file; (2) Defendants’ intentions with respect to the Hoang To

   matter, including the nature of the responsive pleading it intended to file in that case and whether

   it would seek to dismiss, stay, or transfer the case on the grounds that it had previously articulated

   (namely, that it was duplicative of this earlier-filed case); and, relatedly, (3) Defendants’ position

   on a motion to intervene and to stay or dismiss the Hoang To matter that Plaintiffs’ counsel had

   indicated it would file to protect the interests of class members in the event DirectToU, LLC, the

   defendant in that case, did not intend to seek such relief in response to the plaintiff’s complaint.

          20.     First, on October 14, 2024, Mr. Ravindran of my firm made the first of several

   requests to confer on Defendants’ position regarding the Hoang To case. Exhibit 2 hereto, at 9;




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   Exhibit 3 hereto, at 1. Having received no response, on October 14, 2024, Mr. Ravindran again

   requested to confer on the Hoang To case with Defendants’ counsel. Still having received no

   response, on October 15, 2024, Mr. Ravindran again requested to meet and confer with

   Defendants’ counsel that week (e.g., the week ending October 18, 2024), both with respect to

   Defendants’ intentions with respect to the duplicative Hoang-To matter and on Defendants’

   position on Plaintiffs’ forthcoming motion to be appointed interim class counsel in this case. Ex.

   2 at 5. Plaintiffs’ counsel followed up that same day seeking to meet and confer on Defendants’

   position on Plaintiffs’ forthcoming motion to be appointed interim class counsel. Exhibit 4

   hereto, at 1. Later on October 15, 2024, Defendants’ counsel inexplicably responded to Plaintiffs’

   counsel by asking for “a description of the substance” of the conference being requested. Ex. 2

   at 4–5. Plaintiffs’ counsel immediately responded, stating:

       1. Defendants’ position on Plaintiffs’ forthcoming motion seeking interim
          appointment as class counsel.

       2. Defendants’ intent with respect to the Hoang matter. Specifically, Plaintiff wants
          to discuss whether Defendant intends to dismiss Hoang under the first-filed
          doctrine or to move to transfer Hoang to the SDFL. Alternatively, we’d like to
          discuss Defendants’ position on a motion by Plaintiffs to intervene in
          the Hoang matter and a potential motion by Plaintiffs to dismiss the Hoang case on
          first filed grounds.
   Ex. 2 at 4.

           21.    On October 16, 2024, Defendants’ counsel responded to our e-mail

   correspondence by stating that she would confer with her client. Ex. 2 at 3. Later that day,

   Plaintiffs’ counsel followed up with Defendants’ counsel once more – again, simply to propose

   a date to have a meet and confer conference on these issues. Exhibit 6 hereto, at 1. Again,

   Defendants’ counsel responded that she would reply with her clients’ position at some

   unspecified future date.

           22.    On October 21, 2024, having still not received Defendants’ positions on these


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   issues or their availability for a meet and confer call, Plaintiffs’ counsel advised Defendants’

   counsel that Plaintiffs would file a motion seeking interim appointment as class counsel without

   waiting any further, likely on Wednesday October 23, 2024, and that they would also file a motion

   to intervene in the Hoang To matter and move to dismiss that case under the first filed doctrine.

   Ex. 2 at 3.

           23.    Defendants’ counsel did not respond to that communication and, later that day,

   Plaintiffs’ counsel sent another e-mail to Defendants’ counsel regarding Defendants’ incomplete

   initial disclosures, and again sought to confer telephonically on October 22, 2024. Exhibit 5

   hereto, at 2. Once more, Defendants’ counsel refused to schedule a conferral and punted, stating

   again they would need to discuss with their clients.

           24.    On October 23, 2024, Plaintiffs’ counsel sent Defendants’ counsel a summary of

   their attempts to meet and confer by email. Ex. 5 at 1-2. Plaintiffs’ counsel also left voicemails

   to each of Defendants’ counsel of record, all of which went unreturned.

           25.    The next day, Defendants’ counsel responded by stating: “Let’s get a call on the

   calendar early next week to discuss the issues you’ve laid out. We are pretty open on Tuesday,

   10/29, so let us know a time that works for you.” Ex. 5 at 1. I then sent an e-mail to Defendants’

   counsel, stating as follows:

           Bonnie: We will be filing our motion for interim appointment today. And in the
           motion we will advise the court that you have refused to meet and confer with us
           or provide us with your position on our request for interim appointment after
           numerous e-mails and attempted phone calls over the past week+. If your client is
           willing to meet and confer with us today before we file, please let us know
           immediately. Thank you.

   Ex. 2 at 2.

           26.    In response to my e-mail – which, again, came after 10 days of Defendants’

   counsel ignoring Plaintiffs’ counsel’s repeated efforts to communicate with them concerning each



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   of these important issues, and after five days of also ignoring Judge Holderman’s repeated efforts

   to communicate with them as well (as recounted above) – Defendants’ counsel finally agreed to

   meet and confer on these issues with Plaintiffs’ counsel by phone later that afternoon. During

   this October 24 2024, phone call, Defendants’ counsel informed Plaintiffs’ counsel that

   Defendants had executed a class-wide settlement agreement with the counsel for the Hoang To

   plaintiff the day before (October 23, 2024), that the proposed settlement memorialized in that

   signed agreement purports to release the claims of all putative class members in the instant action

   (even though only the proposed classes in the Hoang To action are only a small subset of the

   proposed classes here), that those releases will cover both of the Defendants in this action (even

   though only one of the Defendants here is named in the Hoang To action), that the plaintiff in the

   Hoang To action would be filing a motion for preliminary approval on or about Monday, October

   28, 2024, and that Defendants would be filing a motion to stay the instant action pending

   resolution of the motion for preliminary approval in the Hoang To action. At no time on the call

   or otherwise did Defendants’ counsel ever request Plaintiffs’ position on Defendants’

   forthcoming motion to stay this action. And when Plaintiffs’ counsel asked Defendants’ counsel

   to provide them with a copy of, or to at least disclose the terms of, the class-wide settlement

   agreement that had been signed between Defendants and the Hoang To plaintiff and his counsel

   – information obviously necessary for Plaintiffs and their counsel to assess whether the settlement

   agreement provides fair, reasonable, and adequate relief to class members, and thus to determine

   whether they would oppose Defendants’ forthcoming motion to stay this matter or not –

   Defendants’ counsel flatly refused without explanation. Plaintiffs’ counsel also indicated that

   they would nonetheless be filing the instant motion for appointment of interim counsel as well as

   a motion to intervene and to stay or dismiss the Hoang To action on first-filed doctrine grounds,




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   and Defendants’ counsel stated that Defendants would oppose both motions. Later in the day

   following this call with Defendants’ counsel, I spoke with Judge Holderman by phone, who

   indicated he had just finally gotten ahold of Defendants’ counsel and they had just then advised

   him of the settlement agreement they had signed with the Hoang To plaintiff’s counsel.

          27.     Almost immediately after our call with Defendants’ counsel ended on October 24,

   2024, Defendants filed their motion to stay this action pending resolution of the motion for

   preliminary approval of a class-wide settlement agreement that the plaintiffs would be filing in

   the Hoang To action pending in the Northern District of California. The motion to stay states, in

   pertinent part, that the parties in the Hoang To action signed a class-wide settlement agreement

   “on October 23, 2024” (ECF No. 36 at 2), that the “[t]he settlement reached in the Hoang To

   action would, if approved by the Court, cover all claims asserted in this [Feller] case” (id. at 1),

   that “the Hoang To settlement is expected the release the claims of all putative class members in

   this [Feller] case” (id. at 4), and that “a motion for preliminary approval of the proposed

   settlement will be filed early next week” in the Hoang To case (id. at 2).

          28.     Later in the day on October 24, 2024, I telephoned (but received no answer) and

   then emailed all counsel of record for the plaintiff in the Hoang To action in an effort to meet and

   confer on their position on this motion. See Exhibit 7 hereto. Counsel of record for the plaintiff

   in the Hoang To action, Adrian Barnes, responded that he was not familiar enough with the

   litigation to provide his client’s position on these issues, and that the other counsel of record for

   his client were unavailable until Monday October 28, 2024, because of the observation of a

   religious holiday. See id.

          29.      The reverse auction that Defendants and their counsel have transparently

   orchestrated of the classes’ claims in this litigation, and the willingness with which the plaintiff




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   and his counsel in the Hoang To action appear to have gone along with it, as described above, is

   easily the most underhanded conduct that Plaintiffs’ counsel has witnessed in his 10-year career

   as a lawyer practicing in this area of law.

          30.     In addition to the work my firm has already performed in this matter, as noted

   above, a significant amount of litigation, including discovery, must occur prior to class

   certification and trial in this case. Discovery in this matter will be complex, nuanced, and require

   substantial specialized knowledge and experience to perform effectively and efficiently. My

   firm’s thorough investigation into the claims in this case, as well as its experience prosecuting

   numerous other similar data-privacy matters, will enable it to effectively build and prosecute this

   case on behalf of the classes, including in discovery, motion practice, at class certification, and

   through trial and any appeals if necessary. Appointing Hedin LLP as interim class counsel at this

   juncture will enable the litigation and any settlement negotiations to continue in an arm’s-length,

   non-collusive manner, with experienced counsel devoted to protecting the interests of the putative

   classes at the helm.

          31.     Notably, a significant amount of the discovery critical to the classes’ claims in this

   case is in the possession of third parties, including Meta and Data Axle, both of which my firm

   recently subpoenaed. It is critically important that these third parties, and any others with

   materials relevant to this litigation, continue to preserve all such materials in their possession,

   custody, or control, and that Defendants’ filing of a motion to stay this action and the Hoang To

   plaintiff’s filing of motions in support of approval of his proposed class-wide settlement in the

   Northern District of California does not result in these third parties disregarding their preservation

   obligations with respect to such materials.




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          32.     Hedin LLP draws from a team of highly experienced attorneys dedicated to

   representing plaintiffs in complex class action litigation with extensive experience in the Southern

   District of Florida and nationally, as well as non-lawyer professionals and support staff. My

   colleagues Julie Holt and Arun Ravindran, both of whom are based in the firm’s Miami, Florida

   and are members in good standing of the Florida Bar, have worked and will continue to work

   with me on the prosecution of this matter. See Ex. 1 (biographies for Ms. Holt and Mr.

   Ravindran).    Mr. Ravindran and Ms. Holt also have extensive trial experience and are well-

   equipped to present this case to a jury at trial on behalf of the classes if necessary. My firm has

   ample resources to devote to this litigation to ensure it is effectively prosecuted on behalf of the

   proposed Class. These resources are not merely financial, but also include the substantial

   expertise and work-product that my firm has developed in the course of prosecuting other similar

   matters over the past several years, as well as our long-standing relationships with industry

   experts, regulatory personnel, and reputable settlement administration experts. If appointed to

   represent the putative classes in this matter, my firm will continue to commit all of the necessary

   resources – monetary and otherwise – to most efficiently and effectively prosecute this case on

   behalf of members of the proposed classes. Finally, everyone at my firm recognizes the

   importance of having a diverse group of attorneys work on behalf of our clients and the classes

   of persons we represent. More than half of the attorneys at Hedin LLP are members of

   underrepresented groups and we remain committed to employing a diverse group of attorneys to

   work on behalf of the members of the classes in this litigation going forward.

          33.     My firm is well suited to continue representing the Plaintiffs and members of the

   proposed classes, and we remain committed to protecting their interests in this litigation.




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          I declare under penalty of perjury pursuant to the laws of the United States of America

   that the foregoing is true and correct. Executed this 27th day of October 2024, in Miami, Florida.


                                                        ________________________
                                                        Frank S. Hedin




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